Case: 5:15-cv-00210-DCR-EBA Doc #: 1-1 Filed: 07/22/15 Page: 1 of 22 - Page ID#: 6


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                                                   MSO, Ll~G, eea~., Rfts.
     ~a~~a ~tav(~f's ~~~,                          GiYit Summons, Complaint; interrogatories, Request(s)'
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                                                   148 N Broadway
                                                   Lexington, KY 405Q7
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Page 1 of 1                                                    ;,;,;,,,.             Court      ~ Circuit n Districf
Commonwealth of Kenfucky                               ~°~prot.,,,~~
Court of Justice www.courts.ky.gov                                                   County     Scott
CR 4.02; CR Official Form 1                         CivtL Su~r~o~s




    ESTATE OF GEORGE ESTILL HARRIS by DARRIN ESTILL HARRIS, Administrator




                                                                                                           r       r: _
    KENTUCKY MSO, LLC




Service of Process Agent for Defendant:
 KENTUCKY MSO, LLC
c/o CT Corporation System
306 W. Main Street, Suite 512
Frankfort                                                                     Kentucky                  40601

TF1E COMMONWEALTH OF KENTUCKY
TO THE ABOVE-NAMED DEFENDANT(S):

         You are hereby notified a legal action has been filed against you in this Court demanding relief as shown on
the  document   delivered to you with this Summons. Unless a written defense is made by you or by an attorney on
your behalf within 20 days following the day this paper is delivered to you,judgment by default may be taken against you
for the relief demanded in the attached Complaint.

        The names)and addresses) of the party or parties demanding            lief against you are shown on the document
delivered to you with this Summons.

Date:          'f 0             _,_., 2 Q /                                                                        Clerk
                                                         By:                                                        D.C.




                                                  Proof of Service
     This Summons was served by delivering a true copy and the Complaint (or other initiating document)to:

     this       day of                        ,2
                                                                 Served by:
                                                                                                                Title
    Case: 5:15-cv-00210-DCR-EBA Doc #: 1-1 Filed: 07/22/15 Page: 4 of 22 - Page ID#: 9


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                                   COMMONWEALTH OF KENTUCKY
                                      SCOTT CIRCUIT COURT                                    JUN 10 2015
                                         CIVIL BRANCH
                                               Dlvzslorr i                              KAREN ~~C~-;i~4, CL~~K
                                                                                       ,SCOTT CII~iCUIT COUNT
                                               l~'-~~~
       ESTATE OF GEORGE ESTILL HARRIS by
       DARRIN ESTILL HfiRRIS, Administrator                                                 PLAINTIFF

                                                t       .. ~_
       1~                                           t


       KENTUCKY MSO,LLC and LIFEPOINT
       OF KENTUCKY,LLC, d/b/a GEORGETOWN
       FAMIJY PHYSICIANS and GEORGETOWN
       FAMT-,Y PRACTICE                                                                 DEFENDANTS

                                                    ***~***

              Comes the plaintiff, by counsel, and for his Complaint, states and pleads as follows:

              1.     Darrin Estill Harris is the duly appointed administrator of the estate of his father,

       George Estill Harris, deceased,having been appointed by order ofthe Scott District Court,Probate

       Divis ~~n, on October 27,2014. (Copy attached).

              2.     Defendant, Kentucky MSO, LLC, is afor-profit company which owns and/or

       operat s medical practices and other entities which provide medical care, treatment and services

       in Kentucky and defendant, Kentucky MSO,LLC, is subject to the jurisdiction of this Court and

        s sub~~~ct to service of process upon its registered agent: CT Corporation System, 306 W. Main

       itreet,Suite S12, Frankfort, Kentucky 40b01.

              3.      Defendant, Lifepoint ofKentucky,LLC,is a far-profit company which owns andlor

       operates medical practices and other entities which provide medical care, treatment and services

       in Kentucky and defendant, i.ifepoint of Kentucky LLC,is subject to the jurisdiction of this Court
    Case: 5:15-cv-00210-DCR-EBA Doc #: 1-1 Filed: 07/22/15 Page: 5 of 22 - Page ID#: 10


6




       and is subject to service of process upon its registered agent; CT Corporation System, 306 W.

       Main Street, Suite 512, Frankfort, Kentucky 40601.

              4.      During 2014, specifically including Apri13, 2014 and June 26, 2014, George Estill

       Harris was undex the care of and was treated by Raymond Wechman, M.D.,in Georgetown, Scott

       County, Kentucky, and at all times relevanf here, Dr. Wechman was acting as the employee and/or

       agent of defendants, Kentucky MSO, LLC, and/or Lifepoint of Kentucky, LLC, or both of them,

       and defendants axe liable for the negligent acts and omissions of Dr. Wechman with regaz-d to

       George Estill Harris.

              5.      On or about April 3, 2014, defendants' employee and/or agent, Raymond

       Wechman, M.D., negligently prescribed the drug Metformin for George Estill Harris which was

       contraindicated due to Mr. Harris' history of renal failure.

              6.      Thereafter, on or about 3wne 26, 2014, defendants' employee andlor agent,

       Raymond Wechman, M.D., saw his patient, George Estill Harris, fox an office visit to review Mr.

       Harris' medications, and at that time, Dr, Wechman negligently continued Mr. Harris on the

       contraindicated medication, Metformin.

              7.      Dr. Wechman's negligent prescription of Metfonmin to George Estill Harris caused

       sickness and personal injuries to Mr. Harris and was a substantial contributing factor to his

       premature death.

               8.     As a result of Dr, Wechman's negligence, the Estate of George Estill Harris has

       incurred damages in excess of the jurisdictional amount of this Court, including personal injuries,

       pre-death pain and suffering, medical expense, wrongful death funeral and administrative expenses

       and other damages recoverable under Kentucky law.




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         Case: 5:15-cv-00210-DCR-EBA Doc #: 1-1 Filed: 07/22/15 Page: 6 of 22 - Page ID#: 11


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                      WHEREFORE,plaintiff demands judgment against the defendants for damages in a total

            amour* in excess of the jurisdictional limit of this Court, his costs and expenses incurred herein,

f           pre-J uc?Qrnent
                    5                J gment interest~ and 'ud
                            and Post-'ud                   J gment for all other reliefto which he maY aPPear

            Pntitlec?, including trial by jury.

                                                         Respectfully submitted,

                                                         HERREN &ADAMS
                                                         14~ N. Broadway
                                                         Lexington, KY 40507
                                                         (859)254-0024
                                                         (859)254-5991 (fax)
                                                         chuck.ad ams~herrenadams.com




                                                                                   G            i
                                                         CHARLES C. ADAMS,JR.
                                                         ATTORNEY FOR PLAIN F


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Case: 5:15-cv-00210-DCR-EBA Doc #: 1-1 Filed: 07/22/15 Page: 7 of 22 - Page ID#: 12




                                     COMMONWEALTH OF KENTUCKY                                  "~          'r
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                                         SCOTT CIRCUIT COURT
                                            CIVIL BRANCH
                                             DIVISION ~
                                                /~"-C1~.3 4~9
   ESTATE OF GEORGE ESTILL HARRIS by
   DARRIN ESTILL HARRIS, Administrator                                                     PLAINTIFF


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   KENTUCKY MSO,LLC and LIFEPOINT
   OF KENTUCKY,LLC, d/b/a GEORGETOWN
   FAMILY PHYSICI_ANS and GEORGETOWN
   FAMILY PRACTICE                                                                     DEFENDANTS
                                                ***~~**

           Comes the plaintiff, Dan~in Estill Harris, Administrator of the Estate of George Estill

   Harris, by counsel, and submits the following Interrogatories, Requests for Admissions and

   Requests for Production of Documents to the Defendants, Kentucky MSO,LLC and Lifepoint of

   Kentucky, LLC,and each ofthem separately, pursuant to CR 33 and 34. Under CR 33.02, a proper

   interrogatory may relate to tl~e application of law to fact. These Interrogatories, Requests for

    Admission and Requests for Production of Documents are to be responded to ptusuant to the

    Kentucky Rules of Civil Procedure and supplemented by the Defendants if they obtain further

    information directly or indirectly of the nature sought herein between the time of response to the

    requests and the time of trial.

           REQUEST FOR AJDMISSION NO. 1: Please admit that at the time of Raymond

    Wechman,M.D.'s care and treatment of George Estill Harris as described more fully in paragraphs

    4 — 6 in plaintiff's Complaint, Dr. Wechman was your employee.
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           II~1'l[`E12.ROGA7'Ol~l' I~tO. le If you, the defendant, deny tlae foregoing Request for

   Admission in whole or in part, please describe the business relationship between you and Dr.

   Wechman in detail, and if(here was an oral contract between the two of you, please describe the

   details of that contract in detail.

           ~~`

           I~EQUES'~'FOR P120I9I1C'TIOI~ 1~10e 1: Please provide a true, accurate and complete

   copy of any written contract, memorandum of understanding or other agreement of any kind or

   nature, by whatever name called, between you,the defendant, and Raymond Wechman, M.D.,for

   the time period discussed in paragraphs 4 — 6 of plaintiffs Complaint.

           RESPONSE:

           REQ~C.JEST FOR ADMISSION NO.2:               Please admzt that at the time of Raymond

    Wechman,M.D.'s ca:-~ and treatment of George Estill Harris as described more frilly in paragraphs

   4 — 6 in plaintiff's Complaint, Dr. Wechman was acting as your agent.
           .       ~

            II~iT~RROGATOI~Y IVO. 2e If you, the defendant, deny the foregoing Request for

    Admission in whole or in part, please describe the business relationship between you and Dr.

    Wechman in detail, and if there was an oral contract between the two of you, please describe the

    details of that contract in detail.

            .~

            REQUEST FOR PROl3UCTION NO.2: Please provide a true, accurate and complete

    copy of any written contract, memot~andum of understanding or other agreement of any kind or




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Case: 5:15-cv-00210-DCR-EBA Doc #: 1-1 Filed: 07/22/15 Page: 9 of 22 - Page ID#: 14




   nature, by whatever name called, between you, the defendant, and Raymond Wechman, M.D., for

   the time period discussed in paragraphs 4 — 6 of plaintiff's Complaint.

           Il~t'I'E   OGA'I'OI2I' lvOe 3: Please give the names, addresses and telephone numbers of

   all persons with knowledge about any of the facts and circumstances surrounding the medical

   treatment in question, plaintiffs injuries and damages, your defenses oi° any of die other issues herein

   and identify, with specificity, the subject nnatter ofthe knowledge held by such persons.


           ANSWER:

           II~ITE     OGA'T012I'110. 4: Please state whether any person identified in your answer to

    Inteixogatory No. 1 has given any statement ox account, either oral, written or taped, of his or her

    knowledge of any issue in this case, and if so, the substance of same, date given and whether the

    statement or account was recorded, transcribed and/or signed. This interrogatory specifically

    includes incident reports by whatever name called.

           'ANSWER:

            ~NTEItROGA'€'ORX NO. 5: With regard to any expert witness you expect to call at trial,

    please provide the expert's name, address, area of expertise and resume or curriculum vitae. In

    addition, please state the subject matter on which the expert is expected to testify, as well as t11e

    substance of the facts and opinions to which the expert is expected to testify, and a sulrunary of the

    grounds for each opixuon.

            ANSWER:

            INTERROGATORY NO. 6:                Do you, your agents, attorneys, servants, employees or

    representatives, including your insurance carrier, or anyone else under your control, possess a written

    or taped statement(of any kind)of plaintifF? rf so, please identify d1e person who took the statement

    by name, address and employer and, pursuant to CR 26.02, please provide copies of al( such

    statements.

            Al~1SVVEkt:



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Case: 5:15-cv-00210-DCR-EBA Doc #: 1-1 Filed: 07/22/15 Page: 10 of 22 - Page ID#: 15




           Il~t`TE       OGA.'T12Y NO.7: Do you, the defendant, claim that any person or entity other

   than yourself is responsible, either wholly or partially, for plaintiffs injuries, and/oY~ damages? If so,

   please identify any such person or entity by name and current address, and state the facts upon which

    you rely that such person or entity is wholly or partially responsible.
            ~. ~ti. ,    •>

            IN~I'~ItIZOGA,'I'OTt'Y 1V0. ~: Please identify by the name of the insurance company acid

    policy number all insurance agreements, policies or contracts under which an insurance company may

    be liable to satisfy part or all of a judgment which may be entered in favor of plaintiff in this action,

    and further please state:

            (a)         The limits of coverage;

            (b}         Whether the insurance company has asserted any policy defenses, lac(c of coverage or

                        reservation of rights; and,

            (c)         Whether the insurance is pz~imaiy, excess ox umbrella.



            INTEIZROGAT~RY NO.9: Please identify in detail ail other lawsuits alleging negligence

    which have ever been filed against defendants. Please include information as to the jurisdiction, the

    style ox• caption of the case, the case number and the Warne, address and telephone number of the

    attorneys involved on both sides.

             ANSWER:

             II~1'TERROGA'TOR'Y Tt0.10; Ptease list and identify with specificity all exhibits you intend

     to use, introduce or refex to at the trial of this action and please provide a copy of same.



             YNT~RROGATORY NO. 11: Please identify each and every person whom you expect to

     all as a witness at the trial of this matter and please provide each witness's naive, address and

     telephone number and a sumina~y of the facts to which the witness is expected to testi{y.




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               QiTEST I+OI~ PIZOI)i1C'I'ION INTO.3: Please produce agates-stamped copy of the

   entire original chart for George Estill Harris at the facility, as well as all other documents (e.g,,

   admission records, insurance records, incident reports, e-mails, etc.) or electronic data in your

    possession or under your control pertaining to plaintiff, including but not limited to the following:

               (a)     Electronic medical record (EMR), electronic health record (EHR), with

                       coordinating audit tool/trail;

               (b)     Admission and Discharge documents and summaries;

               (c)     Patient and/or Resident Information sheets and/or "Facesheets";

               (d)     Patient and/or Resident Assessments Protocols(RAPs);

               (e)      Minimum Data Sets(MDS);

               (~       Care Plans;

               (g)      Physician's Notes;

               (h)      Physician's Orders;

                (i)     Operative Notes and Records;

                (j)     Lab Reports, Slips and Data;

                (k)     Nursing Notes;

                (1}     Medication Administration Records(MARs);

                (m)     Treatment Records;

                (n)     CNA Flowsheets;

                (o)     Activities for Daily Living (ADCs);

                (p)      Social Service Notes;

                (q)      Advance Directives, including Acknowledgement of Resident's Rights, Living
                         Will, Do Not Resuscitate Orders(DNR), Consent Forms;




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              (r)      Diagnosis, including EKG's, x-rays, laboratory studies or other test performed
                       during the residency;

               (s)     Nutritional Notes, including intake, output and elimination records;

               (t)     Rehabilitation Notes;

               (u)     Miscellaneous Assessments, including behavior monitors, pressure sore risk
                       assessments and bowel and bladder assessments; and

               (v)     Medicare, Medicaid and/or Health Insurance cards, including supplemental
                       insurance.

           I~SPOIVSE:

           I~QUES'T FOR PRODYJCTIOIV 1~t0.4: Please produce a certified copy of any and all

    medical bills in your possession or under your control pertaining to plaintiff, including the t1B04

    (dliagnosis summary and attestation sheet).

            RESPONSE:

            REQUES'~ ~'OR PRODUCTION NO.5: Please identify and provide a complete copy

    of all learned treatises, textbook excerpts,journal articles, studies, literature, etc., that you intend

    to use at trial with any witness or in any other manner,

            RESPONSE:

            12EQUE5T FOIE PROI)UC7CIOlV 110.6: Please provide a copy of all exhibits you

    intend to use, introduce or refer to at trial, specifically including "demonstrative" exhibits which

     you intend to show to a jury, but may not necessarily marls and introduce into evidence.

            RESPONSE:




                                                        D
    Case: 5:15-cv-00210-DCR-EBA Doc #: 1-1 Filed: 07/22/15 Page: 13 of 22 - Page ID#: 18




                                                           Respectfully submitted,


                                                           HERREN &ADAMS
                                                            Y 48 N. Broadway
                                                           Lexington, KY 40507
                                                           (859)254-0024
                                                           (859)254-5991 (fax)
                                                           chucic.adams(c~.herrenadams.com




                                                           CHARLES C. ADAMS,JR.
                                                           ATTORNEY FOR PLAINTI



                  The undersigned hereby certifies that a true and complete copy of the foregoing

        Interrogatories, Requests for Admission and Requests for Production of Documents to Defendant

        has been served to the Defendant with Summons and Complaint.



                                                     BY:                 C-
                                                           CHA ES C. ADAMS,JR.
                                                           ATTORNEY FOR PLAIN  F
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               Comes the Defendant, Kentucky MSO, LLC, d/b/a Georgetown Family Physicians

   (hereinafter referred to as Defendant), by counsel, and for its Answer to the Plaintiff's

    Complaint, states as follows:

                                                                     ~+'   T I)EFEI~iS~

              Plaintiff~ Complaint fails to state a claim against this Defendant upon which relief can be

    granted.

                                                                 SECO1Vl~ ~?EFEI~SE

               Without waiving its denial ofliabiUly to Plaintiff, Defendant states that all damages to the

    Plaintiff alleged in the Complaint may have been caused in whole or in part by Plaintiffls own

    negligence and, as such, Plaintifes claims are barred in whole or in part.

                                                                     T              DEFEIOTSE

               Without waiving its denial ofliability to Plaintiff, Defendant states that Plaintiffs injuries

    and damages may have been caused in whole or in part by the acts, omissions andlar negligence
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   of other persons and/or third parties not under tUe direction and control of Defendant, and said

   acts, omissions or negligence constitute either a complete oz partial bar to recovery herein.

                                           ,1 '.        1: .

           Without waiving its denial of liability to the Plaintiff, Defendant states that any injuries

   and damages to Plaintiff resulted in whole or in part from intervening acts and/or superceding

   causes over which this Defendant had no control or for which this Defendant had no

   responsibility or liability.

                                                    1!

           Without waiving its denial of liability to the Plaintiff, Defendant states that the Plaintiff

    may have failed to mitigate the damages.

                                                    1`

           Without waiving its denial of liability to the Plaintiff, Defendant states that any injuries

   and damages of which Plaintiff complains were caused and brought about by apre-existing

   condition ofPlaintiff which was neither caused by nor aggravated in any way by this Defendant.

                                                   :' 1

           Except as aff1~~atively admitted, every allegation of the Plaintiff's Complaint is denied.



           Defendant provisionally pleads as affirnlative defenses those defenses of Kentucky Civil

    Rule 8.03 as though fully restated herein, s~~?-~?efenses' applicability to be determined during

    discovery, and Defendant reserves the right to assert additional defenses, whether affn~ative or

    otherwise, about which it pzesantly lacks sufficient knowledge oz information but which may

    become available during the course ofthis litigation through discovery or other means.




                                                    2
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                                               ~I DE~+ENSE

          1.      This Defendant is without sufficient information. to form a belief with respect to

   the allegations contained in paragraph nos. 1 and 3 and therefore denies them.

          2.      With respect to paragraph no. 2, Defendant admits that Kentucky MSO, LLC,

   operates medical practices which provide medical care, treatment and servzces in Kentucky.

   De~'endant denies the remaitung allegations contained in this paragraph.

          3.      With respect to the allegations in paragraph no. 4, Defendant admits that in April

   arzd June 2014, Raymond Wechman, M.D.; was an employee of Kentucky MSO, LLC d/b/a

   Georgetown Family Physicians. Defendant denies all allegations of negligence contained in this

   paragraph directed against it. The remaining allegations iu this paragraph eifher do not apply to

   ~liis Defendant or this Defendant is without sufficient information to form. a belief as to these

   allegations and therefore denies them.

           4.     The allegations containedzn paragraph nos. 5, 6, 7 and 8 pertaiiiiug to this

   P~efendant axe denied.

           WHEREFORE, Defendant, Kentucky MSO,LLC, dlb/a Georgetown Family Physicians,

   laving answered the Plaintiffs Complaint, demand as follows:

           1.     That the Complaint against it be dismissed with prejudice;

           2.     For its costs herein expended;

           3.     For leave to file an amended pleading upon completion of discovery; and

           4.     A11 other appropriate reliefto which they may now or hereafter appear to be

   entitled.


                                                       Respectfi~lly submitted,

                                                       THONPSON MILLER & SIMPSON PLC



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                                                           ~~
                                             B. Todd T ompson,Esq.
                                                                           /1~~_

                                             Millicent A. Tanner
                                             734 W.Main Street, Suite 400
                                             Louisville, KY 40202
                                             (502)585-9900
                                             Counselfo~~ Defendant Kentucky MSO,LLC,
                                             d/b/a Geo~getotiv~a Family Physicians




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Case: 5:15-cv-00210-DCR-EBA Doc #: 1-1 Filed: 07/22/15 Page: 18 of 22 - Page ID#: 23




                                  CERTIFICATE OF SERVICE

          T hereby certify that a true and complete copy ofthe foregoing was this~ ay of July,
   2015, mailed to the following:


   Charles C. Adams, Jr.
   Herren &Adams
   14~ N. Broadway
   Lexington, KY 40507
   059)254-0024
   chuck.adalns@herrenadams.com


                                             Counselfoi~ Defendant
                                             Kentucky MSO,LLC, d/b/a Georgetown Family
                                             Physicians




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                                  C        ACTION ISO. 15-CI-00349 ~_=''--- -_,------~_._




   v.                         I.E~OIlV'T OF I£~1~'~IJC           9 I~CC

   I~1~~JCg~Y 1VIS0,I.~.C, dl/b~a G~+ Ol$G~+'TO
   ~'A.  3'P SIC       S a~~
   L    S ~Yl~~ ~~ AAg~1V A ~/~~A y ~9~i.                                                             LLA'.[`i              L'~1V~4-9



                                                   m*~~~~




          Comes the Defendant, Lifepoint of Kentucky, LI,C (hereinafter referred to as Defendant),

   by counsel, and for its.Answer to the Plaintiff's Complaint, states as follows:

                                           FII2ST IDE~+']EI~SE

          Plaintiffs Complaint fails to state a claim against this Defendant upon which relief can

   be ~~anted.

                                         SECOND I)EFCI~TSE_

           Without waiving its denial Qf liability to Plaintiff, Defendant states that all damages to

   the Plaintiff alleged in the Complaint may have been caused in whole ar in part by Plaintiff's

   own negligence and, as such, Plainfiff's claims are barred in whole or in part.

                                           T        DEFENSE

           Without waiving its denial of liability to Plaintiff, Defendant states that Plaintiff's

   injuries and damages may have been caused in whole or in part by the acts, omissions and/or

   negligence of other persons andlor third parties not under the direction and contz~ol of Defendant,

   and said acts, omissions ox negligence constitute either a ~~mplete or partial bar to zecovery
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   herein.

                                             t''       i1

             Without waiving its denial of liability to the Plaintiff, Defendant states that any injuries

   and damages to Plaintiff resulted in whole or in part from intervening acts andlor superseding

   causes over which this Defendant had no control or for v~hich this Defendant had no

   responsibility or liability.

                                                   ~1i:~I ~      ,

             Without waiving its denial of liability to the Plaintiff, defendant states that the Plaintiff

   may have failed to mitigate the damages.

                                                      1'

             Without waiving its denial of liability to the Plaintiff, Defendant states that any injuries

   and damages of which Plaintiff complains were caused and brought about by a pre-e~sting

   condition ofPlaintiff which was neither caused by nor aggravated an any ~~~Zy by this Defendant.

                                          SE       I~H DEFENSE

             Except as affirmatively admitted, every allegation ofthe Plaintiff's=~mplaint is denied:

                                                       J

             Defendant provisionally pleads as affuinative defenses those defenses of Kenfucky Civil

   Rule 8.03 as though fully restated herein, said defenses' applicability to be determined during

    discovery, and Defendant reserves the right to assert additional defenses, whether affirmative or

    otherwise, about ~vvhich it presently lacks sufficient knowledge or information but which may

    become available during the course ofthis litigation through discovery or other means.

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             1.     This Defendant xs without sufficient information to fontn a belief with respect to




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   the allegations contained in paragraph nos. 1 and 2 and therefore denies them.

           2.     Defendant denies all allegations confained in paragraph no. 3.

           3.     With respect to the allegations in paragraph no. 4, Defendant denies that

   Raymond Wechman, M.D., was or is an employee of Lifepoint of Kentucky, LLC, and

   Defendant denies all allegations of negligence against it. The remaining allegations in this

   paragraph either do not apply to this Defendant or this Defendant is without sufficient

   information to form a belief as to these allegations and therefore denies them.

           4.     The allegations contained in paragraph nos. 5, 6, 7 and 8 pertaining to this

   Defendazzt are denied.

           WIlEREFORE,Defendant, Lifepoint of Kentucky, LLC,having answered the Plaintiff's

   Complaint, demand as follows:

            1.    That the Complaint against it be dismissed with prejudice;

           2.     For its costs herein expended;

           3.     Fox leave to file an amended pleading upon completion of discovery; and

           4.     A11 other appropriate reliefto which they may now or hereafter appear to be

    entitled.


                                                        Respectfully submitted,

                                                        THOMPSON MILLER & SIMPSON PLC



                                                                 V              ~
                                                        B. Todd Thompson,Esq.
                                                        Millicent A. Tanner
                                                        734 W.Mann Street, Suite 400
                                                        Louisville,KY 40202
                                                        (502)585-9900
                                                        Counselfor Defendant Lifepoint of
                                                        Kentucky, LLC




                                                   3
Case: 5:15-cv-00210-DCR-EBA Doc #: 1-1 Filed: 07/22/15 Page: 22 of 22 - Page ID#: 27




                                   CERTIFICATE OF SERVICE

          I hereby certify that a true and complete copy ofthe foregoing was this S~~dap of July,
   2015, mailed to the following:


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   14~ N.Broadway
   Lexington, KY 40507
   (859)254-0024
   chuck.adams@herrenadams.com

                                                    ~.~              ~~
                                                    Counselfog Defendant Life oint of
                                                    Kentucky, LLC
